               Case: 1:21-cr-00698 Document #: 67 Filed: 10/12/23 Page 1 of 3 PageID #:277
                                                           THIRD-PARTY CITATION TO FINANCIAL INSTITUTION IN CRIMINAL CASE

                                                                Issued by the
                                         United States District Court
                                            NORTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA
                                                             THIRD PARTY CITATION TO DISCOVER ASSETS
       V.
                                                                    CASE NUMBER: 21 CR 698
RONALD T MOLO
TO:         Heartland Bank and Trust Company, Attn: Legal Processing, 401 North Hershey Road Bloomington, Illinois 61704
On May 23, 2023, the court entered judgment in favor of the United States and against Ronald T Molo, ***-**-8203, and it
remains unsatisfied in the total amount of $710,408.00.
YOU ARE PROHIBITED from making or allowing any transfer or other disposition of, or interfering with, any property not exempt from
execution or garnishment belonging to the judgment debtor or to which he may be entitled or which may be acquired by or become due to
the judgment debtor and from paying over or otherwise disposing of any money not so exempt, which is due or becomes due to judgment debtor,
until further order of court or termination of the proceedings. You are required to withhold the payment or transfer of any money or other property
no more than twice the amount of the unsatisfied judgment.
YOUR FAILURE TO APPEAR AND ANSWER AS HEREIN DIRECTED MAY CAUSE YOU TO BE ARRESTED AND BROUGHT
BEFORE THE COURT TO ANSWER TO A CHARGE OF CONTEMPT OF COURT, WHICH MAY BE PUNISHABLE BY
IMPRISONMENT.

G      YOU ARE COMMANDED to appear in the United States District Court at the place, date, and time specified below to
be examined under oath to discover assets or income not exempt from the enforcement of the judgment.

    PLACE OF TESTIMONY                                                                     COURTROOM                            DATE AND TIME




      YOU ARE COMMANDED to appear in the Office of the United States Attorney at the place, date, and time specified
       below to be examined under oath to discover assets or income not exempt from the enforcement of the judgment.

 PLACE OF TESTIMONY                                                                      DATE AND TIME
 219 South Dearborn Street, 5th Floor, Chicago, Illinois 60604                            October 20, 2023 at 10:30 a.m.
                                                                                         A timely written answer will make your personal appearance unnecessary.



      YOU ARE COMMANDED to produce and permit inspection and copying of the following documents at the place,
date, and time specified above: See attached rider.

                    CERTIFICATE OF ATTORNEY                                   THOMAS G. BRUTON, Clerk of the District Court
 The undersigned certifies under penalties of perjury provided by law
 (735 ILCS 5/1-109) that on May 23, 2023 judgment was entered against
 the defendant in the amount of $710,408.00 in the United States District
 Court for the Northern District of Illinois in case number 21 CR 698,
 and the balance now due is $710,408.00.

                                                                              _______________________________________________________
     s/ Julia D. Loper                                                        (By) Deputy Clerk
   ______________________________________________________________
 Julia D. Loper, Assistant United States Attorney, 219 S. Dearborn Street,
 5th Fl., Chicago, Illinois 60604; (312) 469-6298.
 THOMAS G. BRUTON, CLERK

                                                                                                            October 2, 2023

 (By) DEPUTY CLERK                                                                                          DATE
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                                                                             PROOF OF SERVICE

                                                 DATE                    PLACE

    SERVED                                                          Heartland Bank and Trust Company, Attn: Legal Processing
                                         10/04/2023                 401 North Hershey Road Bloomington, Illinois 61704

    SERVED ON (PRINT NAME)                                                                       MANNER OF SERVICE
    Heartland Bank and Trust Company
                                                                                                  Federal Express
    SERVED BY (PRINT NAME)                                                                       TITLE
    Veronica Flournoy                                                                            Legal Assistant


                                                                          DECLARATION OF SERVER

    I declare under penalty of perjury under the laws of the United States of America that I am over 21 years of age and the foregoing information contained in the
    Proof of Service is true and correct.

                                                                                         ─────────────────────────────────────────────────────────
                 10/04/20203
    Executed on ────────────────────────                                                 SIGNATURE OF SERVER
                            DATE
                                                                                         219 S. Dearborn Street, 5th Floor, Chicago, Illinois 60604
                                                                                         ─────────────────────────────────────────────────────────
                                                                                         ADDRESS OF SERVER

                                          Notice to judgment debtor pursuant to the Illinois Code of Civil Procedure ' 2-1402(b)


                             CITATION NOTICE                                                 (2) Fuel, provisions, furniture, and personal effects in the debtor's household, and for
                                                                                             personal use, livestock, and poultry of the debtor, as does not exceed $9,690 in value;
                      In the United States District Court                                    (3) Books and tools of a trade, business, or profession necessary for the trade,
                      for the Northern District of Illinois                                  business, or profession of the debtor as do not exceed in the aggregate $4,850 in value;
                     219 S. Dearborn St., Chicago, Illinois                                  (4) Unemployment benefits payable to an individual with respect to his unemployment
                                                                                             (including any portion thereof payable with respect to dependents).
United States,                      Judgment Creditor
                                                                                             (5) Undelivered mail to any person, which has not been delivered to the addressee.
                                                                                             (6) Certain annuity and pension payments under the Railroad Retirement Act,
            v.                                                                               benefits under the Railroad Unemployment Insurance Act, special pension payments
                                                                                             received by a person whose name has been entered on the Army, Navy, Air Force, and
                                                                                             Coast Guard Medal of Honor roll, and annuities based on retired or retainer pay under
Ronald T Molo,                               Judgment Debtor                                 chapter 73 of title 10 of the United States Code.
                                    Inmate 75666-509                                         (7) Workmen's compensation payable to an individual (including any portion thereof
                                    USP Thomson, U.S. Penitentiary                           payable with respect to dependents) under a workmen's compensation law.
                                    PO Box 1002                                              (8) Judgments for support of minor children required by judgment of a court of
                                                                                             competent jurisdiction, entered prior to the date of levy, to contribute to the support of
                                    Thomson, Illinois 61285                                  his minor children.
                                                                                             (9) Certain service-connected disability payments payable to an individual as a
Amount of judgment: $710,408.00                                                              service-connected (within the meaning of section 101(16) of title 38, United States
                                                                                             Code) disability benefit.
                                                                                             (10) Assistance under Job Training Partnership Act. under the Job Training
This citation is directed to: Heartland Bank and Trust Company                               Partnership Act (29 U.S.C. 1501 et seq.) from funds appropriated pursuant to such Act.
                                                                                              (See 18 U.S.C. ' 3613(a) and 26 U.S.C. ' 6334.)
NOTICE: The court has issued a citation against the person named above. The                  THE JUDGMENT DEBTOR HAS THE RIGHT AT THE CITATION HEARING TO
citation directs that person to appear at the place designated above to be examined          DECLARE EXEMPT CERTAIN INCOME OR ASSETS OR BOTH. The judgment
for the purpose of allowing the judgment creditor to discover income and assets              debtor also has the right to seek a declaration at an earlier date, by notifying the clerk in
belonging to you, the judgment debtor, or in which you, the judgment debtor, has an          writing at 219 S. Dearborn, 20th Floor, Chicago, Illinois 60604. When so notified, the
interest. The citation was issued on the basis of a judgment against you, the judgment       Clerk of the Court will obtain a prompt hearing date from the court and will provide the
debtor, in favor of the judgment creditor in the amount stated above. On or after the        necessary forms that must be prepared by the judgment debtor or the attorney for the
date stated above, the court may compel the application of any discovered income or          judgment debtor and sent to the judgment creditor and the judgment creditor's attorney
assets toward payment on the judgment.                                                       regarding the time and location of the hearing.
The amount of income or assets that may be applied toward the judgment for criminal
fines and restitution is limited by federal and Illinois law. The JUDGMENT                                                     Certificate of Mailing
DEBTOR HAS THE RIGHT TO ASSERT STATUTORY EXEMPTIONS
AGAINST CERTAIN INCOME OR ASSETS OF THE JUDGMENT DEBTOR                                      I certify that within three business days of service on the above-named third-party
WHICH MAY NOT BE USED TO SATISFY THE JUDGMENT IN THE                                         citation respondent a copy of this citation to discover assets and citation notice were
AMOUNT STATED ABOVE.                                                                         sent by first class U.S. Mail to the judgment debtor=s last known address, which is
                                                                                             Inmate 75666-509, USP Thomson, U.S. Penitentiary, PO Box 1002 Thomson, Illinois
Under federal law relating to the enforcement of judgments for criminal fines and            61285.
restitution, the property exempt from levy is:
                                                                                                                                   __________________________________
(1) Wearing apparel and school books necessary for the debtor or for his family;
                Case: 1:21-cr-00698 Document #: 67 Filed: 10/12/23 Page 3 of 3 PageID #:279
                                                                                                     October 05, 2023


Dear Customer,




The following is the proof-of-delivery for tracking number: 773602958346




Delivery Information:


Status:                        Delivered                                   Delivered To:            Receptionist/Front Desk

Signed for by:                 M.IRENA                                     Delivery Location:       401 N HERSHEY RD

Service type:                  FedEx Standard Overnight

Special Handling:              Deliver Weekday                                                      BLOOMINGTON, IL, 61704

                                                                           Delivery date:           Oct 4, 2023 11:49

Shipping Information:


Tracking number:                      773602958346                         Ship Date:                 Oct 3, 2023

                                                                           Weight:                    0.5 LB/0.23 KG


Recipient:                                                                 Shipper:
Attn: LEGAL PROCESSING, Heartland Bank and Trust Company                   Veronica Flournoy,
401 NORTH HERSHEY ROAD                                                     219 S. Dearborn Street
BLOOMINGTON, IL, US, 61704                                                 Room 500
                                                                           Chicago, IL, US, 60604




Reference                                  Ronald T. Molo
Department Number                          FLU




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